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                                 CERTIFICATE OF SERVICE

       I, Ericka F. Johnson, hereby certify that on November 8, 2023, a true and correct copy of

the foregoing was caused to be served via the Court’s CM/ECF system on all parties authorized to

receive electronic notice in this case and upon the parties listed below via electronic mail:

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                                              /s/ Ericka F. Johnson________________________
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